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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


__________________________________________
      RENA ABRAN,                          :
                                           :
                        Plaintiff,         :
                                           :
            V.                             :
                                           :               No. 2:18-cv-01107
      CITY OF PHILADELPHIA, ET AL,         :               JUDGE: GOLDBERG
                                           :
                        Defendants         :


                                     NOTICE OF APPEAL

Notice is hereby given that Rena Abran, Plaintiff in the above-named case, hereby appeals to the

United States Court of Appeals for the Third Circuit from: (1) the November 17, 2020 Order

(Dkt. No.2:18-cv-01107) granting the defendants’ (ECF No. 100 and ECF No. 101) Motions for

Summary Judgment in favor of Defendants Corizon Health, Inc. and Marilou Orgasan and the

City of Philadelphia and wherein the Honorable Judge Goldberg;



                                                                   /s/Troy H. Wilson
                                                                   Respectfully submitted,
                                                                   Troy H. Wilson, Esquire
                                                                   Counsel for Plaintiff,
                                                                   Rena Abran

Dated: December 8, 2020
